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   8                      UNITED STATES DISTRICT COURT
   9                   SOUTHERN DISTRICT OF CALIFORNIA
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  11   KATHRYN KAILIKOLE, an                  Case No: 3:18-cv-02877-AJB-MSB
       individual,
  12
                         Plaintiff,           ORDER GRANTING JOINT
  13                                          MOTION TO CONTINUE HEARING
  14         v.                               DATE ON DEFENDANT’S SPECIAL
                                              MOTION TO STRIKE PLAINTIFF’S
  15   PALOMAR COMMUNITY                      FIRST AMENDED COMPLAINT
       COLLEGE DISTRICT, a
  16   governmental entity; and DOES 1        (Doc. No. 24)
  17
       through 25, inclusive,

  18                     Defendants.
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  24         The Court has reviewed the Joint Motion to Continue the Hearing on
  25   Defendant’s Special Motion to Strike Plaintiff’s First Amended Complaint. Good
  26   Cause appearing thereon, the Court hereby GRANTS the joint motion and orders
  27   as follows:
  28                                     1
                            ORDER ON JOINT MOTION TO CONTINUE HEARING
                                              CASE NO. 18CV2877-AJB-MSB
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   1         1.    The hearing on the Special Motion to Strike will be continued from
   2   July 11, 2019 to July 18, 2019 at 2:00 p.m. in Courtroom 4A of the above-
   3   captioned Court.
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   5   IT IS SO ORDERED
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   7   Dated: June 20, 2019
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                              ORDER ON JOINT MOTION TO CONTINUE HEARING
                                                CASE NO. 18CV2877-AJB-MSB
